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    6 Jane Doe
    7
    8                       UNITED STATES DISTRICT COURT

    9                     CENTRAL DISTRICT OF CALIFORNIA

   10                             (WESTERN DIVISION)

   11    JANE DOE,                            2:22-cv-02344-MEMF-GJSx

   12                                         PLAINTIFF JANE DOE’S
                     Plaintiff,               RENEWED NOTICE OF
   13                                         MOTION, MOTION, AND
               v.                             INCORPORATED
   14                                         MEMORANDUM TO STRIKE
                                              DEFENDANT’S AMENDED
   15    JOSEPH “JOJO” DIAZ JR.,              ANSWER TO COMPLAINT
   16                Defendant.               Date:      September 14, 2023
                                              Time:      10:00 A.M.
   17                                         Courtroom: 8B
   18                                         Judge: Hon. Maame Ewusi-Mensah
                                              Frimpong
   19
   20
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   27
                                             PLAINTIFF JANE DOE’S MOTION AND
   28                                        INCORPORATED MEMORANDUM TO STRIKE
                                             DEFENDANT’S AMENDED ANSWER TO
                                             COMPLAINT
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 1
      PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION,
 2          AND INCOPRORATED MEMORANDUM TO STRIKE
 3          DEFENDANT’S AMENDED ANSWER TO COMPLAINT
 4
 5         NOTICE IS HEREBY GIVEN that on September 14, 2023, at 10:00 a.m.,
 6
     before the Honorable Maame Ewusi-Mensah Frimpong, in Courtroom 8B of the
 7
 8   United States Courthouse for the Central District of California, Western Division,
 9   United States Courthouse, 350 West 1st Street, Los Angeles, CA, 90012, Plaintiff
10
     Jane Doe will and hereby does move the Court to strike Defendant Joseph “JoJo”
11
12   Diaz, Jr.’s Amended Answer to Complaint [Doc: 24].
13
           Undersigned counsel is cognizant of this Court’s meet and confer
14
15   requirements pursuant to Local Rule 7-3 and this Court’s Standing Order. [Doc: 26].
16
     However, counsel is aware that the meet and confer requirement may not be enforced
17
18   where “ordering the parties to meet and confer would … be futile.” Yue v. Storage

19   Tech. Corp., No. C07-05850 JW, 2008 WL 4185835, at *7 (N.D. Cal. Sept. 5, 2008)
20
     It is evident from the record before this Court that Defendant Diaz is disengaged
21
22   from this matter. He failed to file a compliant answer to the complaint on two
23
     occasions. [Doc: 17, Doc: 24]. He failed to respond to Plaintiff’s counsel’s repeated
24
25   requests to meet and confer regarding the motion to strike his answer. [Doc: 29]. He
26   failed to respond to undersigned counsel’s repeated attempts to confer in preparation
27
     of the Joint Rule 26(f). [Doc: 28]. He failed to appear at the scheduling conference
28

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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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 1   held by this Court on October 6, 2022. [Doc: 31]. He twice provided new addresses
 2   to the Court [Doc: 35, Doc: 50], but after each “update”, mailings from the Court
 3
     were returned undelivered. [Doc: 38, Doc: 42, Doc: 47, Doc: 49, Doc: 53, Doc: 55,
 4
 5   Doc: 58, Doc: 61, Doc: 63]. He failed to respond to Plaintiff’s original Motion to
 6
     Strike and Motion for Default Judgment by the December 2, 2022 deadline given by
 7
 8   the Court. [Doc: 43]. He failed to appear at the status conference set by the Court for
 9   June 15, 2023. [Doc: 64]. Defendant Diaz is not responsive to any attempts at
10
     communication and has eschewed his obligations to appear before the Court and
11
12   participate in necessary proceedings. For these reasons, it would be futile for
13
     Plaintiff’s counsel to attempt to meet and confer with Defendant Diaz.
14
15         Pursuant to Rule 12(f) of the Federal Rules of Civil Procedure, Plaintiff Jane
16
     Doe, by and through her counsel of record, once more moves the Court for an order
17
18   striking Defendant Joseph “JoJo” Diaz, Jr.’s Amended Answer to Complaint with

19   prejudice to refiling, for willful, contemptuous, and continuing failure to provide an
20
     adequate address, in continued violation of Federal Rule of Civil Procedure 11(a)
21
22   and Central District of California Local Rule 11-3.8. In support of this motion,
23
     Plaintiff respectfully states as follows:
24
25                                PROCEDURAL HISTORY
26         1.     Plaintiff initiated this action by filing her Complaint on April 7, 2022.
27
     [Doc: 1].
28

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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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 1         2.     Defendant filed his Answer to Plaintiff’s Complaint on May 18, 2022.
 2   [Doc: 17].
 3
           3.     On May 20, 2022, a Notice of Document Discrepancies and Order of
 4
 5   the Judge (“Notice”) was filed by the Court. [Doc: 19]. In the Notice, the Court noted
 6
     that Defendant’s Answer was lacking in “name, address, phone, facsimile numbers,
 7
 8   and email address” as required by Local Rule 11-3.8. The Court ordered that the
 9   answer not be filed, but instead be rejected, and ordered the Defendant to file an
10
     amended answer, including the missing information, within five days of the order.
11
12   Id.
13
           4.     Contrary to the Court’s order, Defendant filed his Amended Answer to
14
15   Plaintiff’s Complaint on June 24, 2022, a month after the five-day deadline given by
16
     the Court. [Doc: 24]. Nevertheless, Defendant included in his amended filing the
17
18   following information: “jojotheboxer@gmail.com” as an email address, a physical

19   address of “9461 Charleville Blvd., No. 757, Beverly Hills, CA 90212”, and a
20
     telephone number of “(909) 560-7828”. Id.
21
22         5.     On July 11, 2022, the Court issued its Civil Standing Order to the
23
     parties. [Doc: 26].
24
25         6.     On July 19, 2022, a filing from the Court entitled “Mail Returned to
26   Clerk” demonstrated a mailing envelope from the Office of the Clerk to Defendant
27
28

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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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 1   at the address provided in his Amended Answer, which was marked “RTS Not at
 2   this address.” [Doc: 27].
 3
           7.     Plaintiff previously filed a Motion to Strike Defendant’s Amended
 4
 5   Answer to Complaint based on the foregoing deficiencies. [Doc: 30].
 6
           8.     Defendant Diaz filed a Notice of Change of Address on October 19,
 7
 8   2022, giving his address as 250 North College Park Drive, Unit 113, Upland, CA
 9   91786. [Doc: 35].
10
           9.     Mail from the Court to the new address was returned to sender, with a
11
12   notation that the address was vacant, and unable to forward. [Doc: 47].
13
           10.    The Court, by minute order, set a hearing on its Order to Show Cause
14
15   Why the Answer should not be stricken for April 13, 2023, and ordered Defendant
16
     to file an additional Notice of Change of Address or Opposition to the pending
17
18   Motion to Strike and Motion for Default Judgment by no later than January 31, 2023.

19   [Doc: 46].
20
           11.    Defendant filed a Notice of Errata Re: Change of Address on January
21
22   31, 2023, giving an updated address of 250 N. College Park Drive, Unit i13, Upland,
23
     CA 91786. [Doc: 50].
24
25         12.    Mailing from the Court to the address given in the Notice of Errata was
26   returned undelivered on April 3, 2023, with the notation that the address was
27
     unknown, suggesting it did not exist. [Doc: 55].
28

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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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 1         13.    Due to the continued inability of either the Court or Plaintiff to secure
 2   the Defendant’s participation in the litigation, the Court issued a Minute Order on
 3
     June 8, 2023, ordering the parties to appear in person for a status conference on June
 4
 5   15, 2023. [Doc: 62].
 6
           14.    Defendant failed to appear at the Status Conference on June 15, 2023.
 7
 8   [Doc: 64].
 9                           ARGUMENT AND AUTHORITIES
10
           When Plaintiff filed her original Motion to Strike Defendant’s Amended
11
12   Answer, it was because Defendant had, for a second time, filed a pleading which
13
     failed to comport with the Local Rules; specifically, Rule 11-3.8, requiring that the
14
15   pleadings contain the name, address, telephone/fax number, and email address of the
16
     filing party. Since that time, Defendant has repeatedly provided the Court with
17
18   patently false information regarding his current address. Defendant’s Amended

19   Answer, and each subsequent pleading purporting to update the Court on
20
     Defendant’s address has proved, when tested, to be a blatant falsehood. Defendant
21
22   has repeatedly displayed rank dishonesty, contempt for the orders of this Court, and
23
     a contumacious intent to prolong this litigation and increase Plaintiff’s costs by
24
25   hiding himself from this Court and refusing to engage in the litigation process. The
26   Court gave grace to the Defendant for his conduct once, and Defendant responded
27
     by continuing his deceitful conduct. Plaintiff requests once more that Defendant’s
28

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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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 1   Amended Answer be stricken due to his willful, contemptuous, and continuing
 2   refusal to comport himself to the Court’s rules and orders, with prejudice to its
 3
     refiling.
 4
 5          The Court’s Local Rule 11-3.8 sounds in Federal Rule of Civil Procedure
 6
     11(a), which provides that “[e]very pleading … must state the signer’s address, email
 7
 8   address, and telephone number.” It goes without saying that the Rule expects that
 9   the pleading will include the signer’s actual address, not just any address, and
10
     certainly not an address at which the signer cannot receive mail. It is clear that a
11
12   pleading which does not include an accurate name, address, email address, and
13
     telephone number does not comport with the Federal Rules of Civil Procedure. See
14
15   V.P. Music Grp., Inc. v. McGregor, No. 11-CV-2619, 2012 WL 1004859, at *3
16
     (E.D.N.Y. Mar. 23, 2012).
17
18          Rule 11(a) also requires that a court strike any pleading which does not

19   conform. This was clearly done with Defendant’s first Answer, which the Court
20
     rejected in its May 20, 2022 Notice. Defendant has now filed an Amended Answer
21
22   (late) and failed yet again to provide a serviceable address. The first instance of
23
     failure to conform to the rules, though not excusable, is at minimum understandable,
24
25   as Defendant is litigating pro se.1 The second instance, after being informed by the
26
27   1
      L.R. 83-2.2.3 states that “[a]ny person appearing pro se is required to comply with these Local
28   Rules, and with the F.R.Civ.P., F.R.Crim.P., F.R.Evid. and F.R.App.P.” This includes L.R. 11-
     3.8.

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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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 1   Court of the conduct expected, is clearly intentional. Combined with Defendant’s
 2   continued failure to provide a legitimate legal address where he can be reached and
 3
     served with documents in this case, Defendant has demonstrated his contempt for
 4
 5   these proceedings, and his intention to avoid his obligations to this Court at all costs.
 6
     The case and cause for sanctioning Defendant could not be clearer.
 7
 8         In addition to the foregoing, Local Rule 83-2.4 provides that any party,
 9   including pro se litigants, who changes their address “must, within five (5) days of
10
     the change, notify the Clerk of Court in writing.” Defendant has provided no notice
11
12   of change of address to explain his unavailability at the address he gave in his
13
     Amended Answer to Complaint. Furthermore, Local Rule 41-6 provides as follows:
14
15         “A party proceeding pro se must keep the Court and all other parties
           informed of the party’s current address as well as any telephone number
16
           and email address. If a Court order or other mail served on a pro se
17         plaintiff at his address of record is returned by the Postal Service as
18         undeliverable and the pro se party has not filed a notice of change of
           address within 14 days of the service date of the order or other Court
19         document, the Court may dismiss the action with or without prejudice
20         for failure to prosecute.”
21   While this rule specifically addresses pro se plaintiffs, the intellectual reasoning
22
23   behind it could readily be applied to defendants. A plaintiff’s failure to prosecute

24   and a Defendant’s failure to defend are two sides of the same coin. If the Court is
25
     vested with the authority to sanction one, it must necessarily have the authority to
26
27   sanction the other. This is grounded in the understanding of the Court’s inherent
28
     powers.

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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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 1         Federal courts possess certain “inherent powers,” not conferred by rule
 2   or statute, “to manage their own affairs so as to achieve the orderly and
 3
     expeditious disposition of cases.” Link v. Wabash R. Co., 370 U.S. 626, 630–
 4
 5   631, 82 S.Ct. 1386, 8 L.Ed.2d 734 (1962). That authority includes “the ability
 6
     to fashion an appropriate sanction for conduct which abuses the judicial
 7
 8   process.” Chambers v. NASCO, Inc., 501 U.S. 32, 44–45, 111 S.Ct. 2123, 115
 9   L.Ed.2d 27 (1991). “A district court is not constrained to impose the least
10
     onerous sanction available, but may exercise its discretion to choose the most
11
12   appropriate sanction under the circumstances.” Chrysler Corp. v. Carey, 186
13
     F.3d 1016, 1022 (8th Cir.1999). “Where the drastic sanctions of dismissal or
14
15   default are imposed ... the losing party's non-compliance must be due to
16
     willfulness, fault or bad faith.” Jorgensen v. Cassiday, 320 F.3d 906 (9th
17
18   Cir.2003) (quoting, Hyde & Drath v. Baker, 24 F.3d 1162, 1167 (9th

19   Cir.1994); Fjelstad v. American Honda Motor Co., 762 F.2d 1334, 1337 (9th
20
     Cir.1985). “[D]isobedient conduct not shown to be outside the control of the
21
22   litigant is all that is required to demonstrate willfulness, bad faith, or
23
     fault.” Hyde & Drath v. Baker, 24 F.3d at 1167; Fjelstad, 762 F.2d at 1341.
24
25   A single willful violation may suffice depending on the circumstances. Valley
26   Engineers, Inc. v. Electric Engineering Co., 158 F.3d 1051, 1056 (9th
27
     Cir.1998), cert. denied, 526 U.S. 1064, 119 S.Ct. 1455, 143 L.Ed.2d 542
28

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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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 1   (1999); see Ortiz–Rivera v. Municipal Government of Toa Alta, 214 F.R.D.
 2   51, 57 (D.P.R.2003) (disobedience of court orders in and of itself constitutes
 3
     extreme misconduct and warrants dismissal).
 4
 5         Plaintiff acknowledges that she is requesting a severe sanction for
 6
     Defendant’s conduct; however, under the circumstances, Defendant has been given
 7
 8   abundant grace, and failed to correct his conduct. Plaintiff is left with no choice. It
 9   is abundantly clear from Defendant’s antics that he does not intend to engage in good
10
     faith with this process. To the contrary, from the very outset of this case, he has
11
12   demonstrated contempt for the orders of this Court, disdain for the rules of this Court
13
     and of ethical conduct, and disregard for the increased time and cost his antics add
14
15   to the litigation. As such, the Court is authorized, and Plaintiff prays the Court
16
     exercise, its inherent power to sanction Defendant for his conduct, and strike his
17
18   Amended Answer with prejudice to refiling.

19                                       CONCLUSION
20
           WHEREFORE, premises considered, Plaintiff Jane Doe respectfully prays the
21
22   Court enter an order striking Defendant’s Amended Answer, sanctioning his
23
     contemptible conduct by prejudicing him from refiling, award Plaintiff her
24
25   reasonable attorney fees in connection with this remedy, and such other relief as the
26   Court deems just and proper.
27
     Dated: August 11, 2023
28

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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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 1                                             Respectfully submitted,
 2                                             _/s/ Rajan O. Dhungana_________
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 5                                             Anaheim, California 92801
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                                               rdhungana@fedpractice.com
 7                                             Attorney for Plaintiff
 8                                             Jane Doe
 9
10
                                CERTIFICATE OF SERVICE
11
12          I hereby certify that on August 11, 2023, I served a copy of the foregoing
13   Plaintiff Jane Doe’s Renewed Notice of Motion, Motion, and Incorporated
     Memorandum to Strike Defendant’s Answer to Amended Complaint via email to
14   the Defendant at jojotheboxer@gmail.com, which is an email address claimed to
15   belong to the Defendant.
16
                                               /s/ Rajan O. Dhungana
17                                             Rajan O. Dhungana (SBN: 297794)
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     PLAINTIFF JANE DOE’S RENEWED NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE
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